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              ORAL DEPOSITION OF MUHAMMAD NASIR SIDDIQI

                                                                     Page 1
                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION
        IN RE:                             ) Case No. 19-42834
        MUHAMMAD NASIR SIDDIQI             ) Chapter 7
             Debtor                        )
        __________________________         )
        MARK A. WEISBART,                  )
        CHAPTER 7 TRUSTEE                  )
             Plaintiff                     )
                                           )
        vs.                                ) Case No. 20-04037
                                           )
        JAMELA SIDDIQI                     )
             Defendant                     )
                                           )


                      -----------------------------------
                                 ORAL DEPOSITION OF
                             MUHAMMAD NASIR SIDDIQI
                                  MARCH 24, 2021
                      -----------------------------------


                ORAL DEPOSITION OF MUHAMMAD NASIR SIDDIQI, produced
        as a witness at the instance of the Plaintiff, and duly
        sworn, was taken in the above-styled and numbered cause
        on March 24, 2021, from 9:06 a.m. to 1:49 p.m., before
        Nita G. Cullen, CSR in and for the State of Texas,
        reported by machine shorthand, at The Law Office of Mark
        A. Weisbart, 12770 Coit Road, Suite 541, in the City of
        Dallas, County of Dallas, State of Texas, pursuant to
        the Federal Rules of Civil Procedure.


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                                                                     Page 2
   1                             A P P E A R A N C E S
   2
   3    FOR THE PLAINTIFF:
   4            MR. MARK A. WEISBART
                MR. JAMES S. BROUNER
   5            THE LAW OFFICE OF MARK A. WEISBART
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  11            P.O. Box 795812
                Dallas, Texas 75379
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  13
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                LAW OFFICES OF ERIC A. LIEPINS, P.C.
  16            12770 Coit Road, Suite 1100
                Dallas, Texas 75251
  17            972.991.5591
                972.991.5788 Fax
  18
  19    ALSO PRESENT:
  20            MR. WILSON HUNG VU
  21
  22
  23
  24
  25


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                                                                     Page 5
   1                             P R O C E E D I N G S
   2                          MUHAMMAD NASIR SIDDIQI,
   3    having been first duly sworn, testified as follows:
   4                      MR. BROUNER:     Okay.   Hal, Eric, by the
   5    rules?
   6                      MR. LIEPINS:     Sure by me.
   7                      MR. BROUNER:     Sure by you.    Okay.
   8                                 EXAMINATION
   9    BY MR. BROUNER:
  10            Q.   Mr. Siddiqi, my name is Jim Brouner.        I'm an
  11    attorney for Mark Weisbart, the Bankruptcy Trustee
  12    administering your bankruptcy estate.           Would you please
  13    state your name for the record?
  14            A.   Muhammad Siddiqi.
  15            Q.   Okay.    Would you please spell that?
  16            A.   M-O-H-A-M-M-A-D S-I-D-D-I-Q-I.
  17            Q.   Okay.    Have you gone by any other names over
  18    the last ten years?
  19            A.   Nasir.
  20            Q.   Sorry --
  21            A.   Nasir.   N-A-S-I-R.
  22            Q.   N-A-S --
  23            A.   N-A-S-I-R.
  24            Q.   N-A-S-I-R.
  25            A.   Yes, sir.


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                                                                      Page 8
   1            A.   No, sir.
   2            Q.   Okay.   Have you been diagnosed with any
   3    cognitive issues, like dementia or Alzheimer's?
   4            A.   No, sir.
   5            Q.   Okay.
   6                        (DEPOSITION EXHIBIT 1 MARKED.)
   7            Q.   (By Mr. Brouner)      I will hand to you what's
   8    been marked as Exhibit 1.          Eric, have you seen this
   9    document before?
  10            A.   Can I ask him?    Is the same you send to me?
  11                        MR. LIEPINS:   That's the document we sent
  12    to you.
  13            A.   Yes.
  14            Q.   (By Mr. Brouner)      Okay.   Do you understand that
  15    this document is a subpoena requiring you to testify
  16    here today?
  17            A.   Yes, sir.
  18            Q.   Okay.   And if you look at the last page of the
  19    document, it requires you to produce certain tax returns
  20    for yourself for the tax years 2011, 2012, 2013 and 2014
  21    and any amendments to same.         Have you brought those
  22    documents here today?
  23            A.   Sir, I do not find any 2011, '12, '13.
  24            Q.   Okay.   What actions did you take to try to
  25    locate these documents?


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                                                                     Page 9
   1            A.   Tried to look for my e-mails and my paperwork,
   2    did not find any.
   3            Q.   Okay.   Where would you -- where would your
   4    files be?     Would they be at home or in an office?
   5            A.   Home.
   6            Q.   Okay.   Why would you have looked at an e-mail
   7    for these documents?
   8            A.   Because I think whoever prepared my tax
   9    sometime he e-mail me, so I did not find.
  10            Q.   Okay.   And for these calendar years, for these
  11    returns, who would that person have been?
  12            A.   Juan.   I don't know his last name.     His name is
  13    Juan.
  14            Q.   Okay.   Did you locate e-mails from Juan on your
  15    computer?
  16            A.   Yes, sir.
  17            Q.   Okay.   Did you contact Juan for him to send you
  18    copies of these tax returns?
  19            A.   No, sir.
  20            Q.   Why didn't you?
  21            A.   Because he don't return the call.      I tried to
  22    call him like before he ask me, so I tried to call him
  23    like a month ago, he didn't return the call.
  24            Q.   Do you know where Juan offices?
  25            A.   Is by 302 -- 3010 LBJ Freeway.


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                                                                     Page 10
   1            Q.   So, he's close by here?
   2            A.   Yes.
   3            Q.   Did you go to visit him?
   4            A.   No, sir.
   5            Q.   Did you -- so, you didn't stop on the way here
   6    today or yesterday to see if he could get those returns?
   7            A.   (Witness shakes head negatively.)
   8            Q.   Mr. -- you'll have to verbally --
   9            A.   No, sir.
  10            Q.   Did you contact the Internal Revenue Service to
  11    get copies of these returns?
  12            A.   No, sir.
  13            Q.   Why did you not?
  14            A.   I don't know.   I should.
  15            Q.   Okay.   Did you speak to anybody about how to
  16    get these returns?
  17            A.   No, sir.
  18            Q.   Is Juan -- is Juan an accountant?
  19            A.   Yes, sir.
  20            Q.   Okay.   Were returns filed for these particular
  21    years?
  22            A.   I don't remember, sir.
  23            Q.   Okay.   Have there been years where you have not
  24    filed your tax returns?
  25            A.   I did not file '19.


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                                                                      Page 16
   1            A.   Sohail, S-O-H-A-I-L.
   2                      (DEPOSITION EXHIBITS 2, 3 AND 4 MARKED.)
   3            Q.   (By Mr.     Brouner) I'll hand to you what's been
   4    identified -- marked as Exhibit 2.          Have you seen this
   5    document before?
   6            A.   Yes, sir.
   7            Q.   Okay.   Do you have an understanding of what
   8    that document required of you?
   9            A.   It was asking the bank statement and credit
  10    card statement.
  11            Q.   Okay.   If you would, turn to page 8 of that
  12    document.
  13            A.   Yes, sir.
  14            Q.   So, this document is a subpoena for you --
  15    subpoena to produce documents.
  16            A.   Yes, sir.
  17            Q.   And this document requires you to undertake an
  18    effort to produce various documents to document
  19    requests.
  20            A.   Yes, sir.
  21            Q.   Beginning on page 8, top of the page, it
  22    provides documents to be produced.          Have you seen this
  23    list of document requests from page 8 to page 11?
  24            A.   Yes, sir.
  25            Q.   Okay.   What efforts did you make to locate and


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                                                                      Page 17
   1    produce documents to comply with this request?
   2            A.   Try my best to give all the documents to Mr.
   3    Eric.
   4            Q.   Okay.   What did you do to try to locate these
   5    documents?
   6            A.   The credit card statement, I try to talk to
   7    several people, because first, I was thinking going to
   8    be online because since I file bankruptcy, they don't
   9    talk to.     Probably you guys know better than me, when
  10    you file bankruptcy, even I cannot make payments for my
  11    cars, I have to call them put on hold for hour, two
  12    hour, and their answer is, talk to your attorney.
  13            Q.   Okay.   What about your bank statements?
  14            A.   Bank statements, I give it to Mr. Eric whatever
  15    you guys request, and they already close my account, my
  16    personal account since -- I don't remember the date, but
  17    when the judgment from Ropal, so I cannot get the
  18    documents from them, but I get some, and I give it to
  19    him.
  20            Q.   How do you communicate with Jamela?
  21            A.   Over the phone.
  22            Q.   You don't -- you haven't text or e-mail her?
  23            A.   If it's something business, yes, sir.
  24            Q.   Does Hiba file tax returns?      I'm sorry.      Let me
  25    rephrase that.       What is Hiba Entertainment, H-I-B-A?


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                                                                      Page 20
   1    question.     Does Hiba file federal tax returns?
   2            A.   Yes, sir.
   3            Q.   Okay.   Did Hiba file a tax return for 2017?
   4            A.   I don't remember.    I think no.
   5            Q.   How about for 2018?
   6            A.   No, sir.
   7            Q.   Who would regularly prepare the Hiba tax
   8    returns?
   9            A.   Same guy, Juan.
  10            Q.   In the requests to produce Hiba's tax returns
  11    in accordance with Exhibit 2, did you reach out to Juan
  12    to obtain those tax returns?
  13            A.   Yes, sir.
  14            Q.   Could you not get them from Juan?
  15            A.   No, sir.
  16            Q.   Why not?
  17            A.   Like I said, I don't know if somehow he not
  18    talk to me.
  19                     MR. BROUNER:     Eric, let's go off the record
  20    for a second.
  21                     (OFF THE RECORD FROM 9:35 TO 9:36 A.M.)
  22            Q.   (By Mr. Brouner)    Did you reach out to the IRS
  23    to obtain the Hiba tax returns?
  24            A.   I did for Hiba, yes, sir.     Take like one hour
  25    something, so I just hang up.


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                                                                      Page 21
   1            Q.   How many times did you try to call the IRS for
   2    the tax returns?
   3            A.   Only one time.
   4            Q.   Did you send them a letter?
   5            A.   No, sir.
   6            Q.   Did you go to the IRS website to retrieve the
   7    returns?
   8            A.   No, sir.
   9            Q.   Did you go to the IRS website to retrieve your
  10    own tax returns?
  11            A.   No, sir.
  12            Q.   I'll hand you what's been marked as Exhibit 3.
  13    Do you recall seeing that document?
  14            A.   Yes, sir, I remember.
  15            Q.   Okay.   And this document is an Order to Compel
  16    Compliance with Subpoena, correct?
  17            A.   Yes, sir.
  18            Q.   Okay.   And this was -- order was entered by the
  19    bankruptcy court after a hearing to require you to
  20    comply with a subpoena, which is Exhibit 2, correct?
  21            A.   Yes, sir.
  22            Q.   Okay.   And this -- if you look at Footnote 1 to
  23    this order, it required you to affirmatively contact and
  24    recover the documents from your creditors, banks,
  25    financial institutions and credit card companies, to the


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                                                                      Page 22
   1    extent that you do not -- do not retain physical
   2    possession of the documents requested, correct?
   3            A.   Yes, sir.
   4            Q.   Okay.   So, what, in addition to what you did to
   5    comply with the subpoena originally, did you undertake
   6    to comply with the Court's order?
   7            A.   I give it to some documents to Mr. Eric.
   8            Q.   Okay.   That wasn't the question.      The question,
   9    what did you do to -- in addition to what you did to
  10    comply with this original subpoena, which is Document 2
  11    here, Exhibit 2, did you undertake, after the Court
  12    entered the order?       What additional efforts did you make
  13    to retrieve the documents required by the Court?
  14            A.   I call the credit card company, again, and I
  15    have their recorded conversation, they -- I've been
  16    holding for them, and they told me they don't have
  17    anything to provide me for the credit card is Citibank,
  18    Citi credit card, not Citibank.          And I got some, so I
  19    give it to Mr. Eric.
  20            Q.   Anything else you did to comply with the
  21    Court's order?
  22            A.   No, sir.    I just called him, and I looked for
  23    the documents.       I did not find any.
  24            Q.   Did you go back to Juan, your tax preparer, to
  25    get tax returns?


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                                                                      Page 23
   1            A.   No, sir.
   2            Q.   I'll hand you what's been marked as Exhibit 4.
   3    This is a document entitled -- it's your Affidavit in
   4    support of your response to the motion to compel,
   5    correct?
   6            A.   Yes, sir.
   7            Q.   Okay.   And the last page, is that your
   8    signature?
   9            A.   Yes, sir.
  10            Q.   Now, you signed this affidavit, as you've
  11    testified, you spell your name with an "O,"
  12    M-O-H-A-M-M-A-D, right?
  13            A.   Yes, sir.
  14            Q.   Okay.   You filed the bankruptcy case with a
  15    "U," M-U-H-A-M-M-A-D.
  16            A.   Yes, sir.
  17            Q.   Why are you flip-flopping on the spelling of
  18    your name?
  19            A.   Sir, I've been using M-U-H-A-M-M-A-D since I'm
  20    here, like most eighteen years.           And I don't use M-O.       I
  21    don't know why, but I'm always using M-U.           After the
  22    asking for my Social Security, and I don't know what's
  23    my, so I have to go to find my Social Security, Social
  24    Security office.         So, when they gave it to me, it's
  25    showing with M-O.        So since I then almost like four or


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                                                                      Page 44
   1            A.   Page 3, right?
   2            Q.   Yes.    Well, actually, go to the top.     We're
   3    using these numbers here.
   4            A.   Okay.    Sorry.   Page 3.
   5            Q.   Okay.    You with me?
   6            A.   Yes, sir.
   7            Q.   Okay.    So, in response to any real property,
   8    you identified your home at 6701 Havenhurst, correct?
   9            A.   Yes, sir.
  10            Q.   Okay.    What other -- did you have any other
  11    real estate in 2018?
  12            A.   No, sir.
  13                        MR. LUSKY:   Did you mean 2018 or 2019?      The
  14    specials are in 2019.
  15                        MR. BROUNER:   I meant 2018.
  16                        MR. LUSKY:   Okay.
  17                        MR. BROUNER:   Thank you.
  18            Q.   (By Mr. Brouner) Did you have any other real
  19    estate when you filed these papers in November of 2019?
  20            A.   No, sir.
  21            Q.   Turning to the next page, you listed various
  22    cars.    Did you own any other cars in 2018 that are not
  23    listed here in 2019?
  24            A.   No, sir.    This is it.
  25            Q.   Okay.    Let's talk about -- I understand you had


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                                                                      Page 66
   1            A.   Yeah, I made.
   2            Q.   And that pertained to just your wages, is that
   3    right?
   4            A.   Yes.
   5            Q.   Okay.    Turn to the next page, page 30.         It
   6    says, for purposes of 2018, January 1st through
   7    December 31st, you had $124,920 of gross income, is that
   8    right?
   9            A.   Yes, sir.
  10            Q.   But it reflects -- the box was checked that it
  11    was from operating a business.           Can you tell me what
  12    business you were operating from which that income was
  13    derived?
  14            A.   Eagle.
  15            Q.   Was that wages from Eagle, or was that 1099
  16    income, or were you an interest holder in Eagle
  17    Protective Group?
  18            A.   They give me the checks when I get more
  19    accounts, they give me, what do you call, like bonus
  20    check.
  21            Q.   Bonus checks?   Commissions?
  22            A.   Yeah, commission, right.      Thank you.
  23            Q.   So, that's completely commissions?
  24            A.   No, no, wage and commission.
  25            Q.   Okay.


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   1            A.   Salary and commission.
   2            Q.   Okay.   So, you're telling me that the box
   3    was -- wrong box was checked?         You either have the top
   4    box that says, wages, commissions and bonuses and tips,
   5    or you have operating a business.         I'm just asking you
   6    which one it was.        Was it inadvertently checked or not?
   7    That's my question.       If you want a few minutes to
   8    consult with your counsel --
   9                      MR. LIEPINS:    I think he's answered it's
  10    wages and commissions.       The box was inappropriately
  11    checked in our office.
  12            Q.   (By Mr. Brouner)    Okay.   Same for 2017?
  13            A.   Yes, sir.
  14            Q.   Okay.   Before we leave that, one question.         So,
  15    you had testified earlier that you moved out of the
  16    Tanglewood home in 2008, is that correct?
  17            A.   Yes, sir.
  18            Q.   Okay.   Where did you move to?
  19            A.   She purchased the house from me in 1109
  20    Lakestream Drive.
  21            Q.   Okay.   And that was in 2008, and you moved out
  22    of the house in 2008, and it took two years for you to
  23    finalize the divorce?
  24            A.   Two years?
  25            Q.   Well, the divorce decree was 2010, and you


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                                                                      Page 108
   1            A.   No, sir.
   2            Q.   And why not?
   3            A.   I know because I don't want to be involved with
   4    her business.        It's her business.
   5            Q.   Okay.   But I think you've previously testified
   6    that, you know, you basically do the laboring arm of the
   7    business.     If it wasn't for you, she'd have no business,
   8    is that right?
   9            A.   Yes, sir.
  10            Q.   So, you're kind of the linchpin of the
  11    business.
  12            A.   Yes, sir.
  13            Q.   You basically manage most of the operations?
  14            A.   Yes, sir.
  15            Q.   And I think it was formed in 2003, so you've
  16    been doing it for seventeen years?
  17            A.   Yes, sir.
  18            Q.   Now, I understand you hold all the licenses or
  19    certifications, is that correct?
  20            A.   That's correct.
  21            Q.   Okay.   She doesn't have any of that, does she?
  22            A.   She have only owner license.
  23            Q.   Pardon?
  24            A.   The owner license.
  25            Q.   The owner license.


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                                                                      Page 109
   1            A.   Yes, sir.
   2            Q.   And how many licenses and certifications do you
   3    have with respect to that business?
   4            A.   I have a manager license.
   5            Q.   How many licenses for Eagle do you have?
   6            A.   Four license.    Four or five license.
   7            Q.   Okay.   And how much -- how much time -- well,
   8    did you get all four licenses at the same time or at
   9    different times?
  10            A.   Different times.
  11            Q.   Okay.   So, what was the first license you got?
  12            A.   First license got for non-commission office,
  13    like as a security guard license.
  14            Q.   Security guard license.      And how much
  15    training -- how many hours of training did you have to
  16    put in to get that license?
  17            A.   She trained me because she was the manager, and
  18    manager allow to train level two officer.
  19            Q.   Okay.   And how long ago -- what year did you
  20    get that license?
  21            A.   2000, 2001.
  22            Q.   Okay.   So, you've had that license before she
  23    formed the company.
  24            A.   Yes.
  25            Q.   Okay.   What's the second license?


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                                                                      Page 110
   1            A.   She has a company, then she -- I'm sorry, say
   2    it again, your question.
   3            Q.   You said there were four or five licenses.
   4    What's the second one that you --
   5            A.   No.    Before this question.    You asked me about
   6    she had a company before I have license, right?
   7            Q.   Her company was formed in 2003, I believe.
   8            A.   Yes, sir.   So, she apply my license, like I
   9    cannot do it my own until Eagle apply.
  10            Q.   Okay.
  11            A.   Yes, sir.
  12            Q.   So, after your security guard license, what's
  13    the next license you got?
  14            A.   It's called commission license.
  15            Q.   Okay.    And how many hours does it take to train
  16    or study to get that license?
  17            A.   40 hours.
  18            Q.   20?
  19            A.   40.
  20            Q.   40.    And do you have to go someplace to study?
  21            A.   Yes.
  22            Q.   Where?
  23            A.   It's called Texas Handgun Academy.
  24            Q.   Texas what?
  25            A.   Texas Handgun Academy.


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                                                                      Page 111
   1            Q.   Handgun.
   2                        MR. LUSKY:   I didn't catch that.
   3                        MR. WEISBART:   Handgun.
   4                        MR. LUSKY:   Handgun.
   5            Q.   (By Mr. Brouner)     And when did you obtain that
   6    license, approximately?          What year?
   7            A.   I don't remember, sir, it's been a long time.
   8            Q.   Okay.   How about the third license?
   9            A.   It's a manager license.
  10            Q.   Manager license?
  11            A.   Yes.
  12            Q.   And how many hours of training or study did you
  13    have to take for that?
  14            A.   I have to study and then take a test for the
  15    manager, for written exam.
  16            Q.   How many hours do you think --
  17            A.   Two hours.
  18            Q.   Two hours to study?     Okay.     And what's the
  19    fourth license?
  20            A.   It's called personal protection officers.
  21            Q.   Okay.   And how many hours of study --
  22            A.   It's four hours.
  23            Q.   Four?   And anymore?
  24            A.   Supervisor license.
  25            Q.   Supervisor.    How many hours of study or


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                                                                      Page 122
   1            Q.   So this was after you were being sued?           Is that
   2    what you said?
   3            A.   No, no, no.    2000 -- yeah, after I been sued
   4    with Ropal.
   5            Q.   Okay.
   6            A.   Yes, sir.
   7            Q.   So, Mohammad showed you this document, which
   8    was already signed.        Is that your testimony?
   9            A.   No, I ask him, I said, what he's talking about?
  10    So, he said, you remember this document?           I said, no.
  11            Q.   Okay.   So, this agreement is dated January 4th
  12    of 2018 at the top there.
  13            A.   Yes, sir.
  14            Q.   So, you didn't see this back in January
  15    of 2018?
  16            A.   No, sir.
  17            Q.   What do you know about an entity called AZ &
  18    Hiba Entertainment?
  19            A.   Yes, sir.
  20            Q.   You know that entity?
  21            A.   (Witness nods head affirmatively.)
  22            Q.   What is AZ & Hiba Entertainment?
  23            A.   The same with the starting the company.           I
  24    don't remember the date.         I don't know the date.
  25                      (DEPOSITION EXHIBIT 15 MARKED.)


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                                                                      Page 123
   1            Q.   (By Mr. Brouner)     I'll hand you what's been
   2    marked as Exhibit 15.        So, this is a Certificate of
   3    Formation For-Profit Corporation of AZ & Hiba
   4    Entertainment, Inc., is it not?
   5            A.   Yes, sir.
   6            Q.   Were you aware of the formation of this
   7    company?
   8            A.   Yes, sir.
   9            Q.   Okay.   And whose idea was it to form this
  10    company?
  11            A.   The idea was happen because when the American
  12    Airline decide they don't want to give anybody money,
  13    and after I find out, they said they have a one name AZ
  14    & Hiba Entertainment, and then, we decide -- I decide go
  15    ahead and open a company.
  16            Q.   Okay.   And this was formed September of 2018.
  17            A.   Yes, sir.
  18            Q.   And it was formed by Laura Mounan.       Is that
  19    your daughter?
  20            A.   Yes, sir.
  21            Q.   Who else is part owner of this company, besides
  22    yourself?
  23            A.   Beside her?
  24            Q.   Who are the owners of this company?
  25            A.   Only her.


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                                                                      Page 124
   1            Q.   Oh, she's the owner.
   2            A.   Yeah.
   3            Q.   So, you have any interest -- you don't have any
   4    interest in this company?
   5            A.   No, sir.
   6            Q.   What does the company do?
   7            A.   Nothing.
   8            Q.   What was the intention?
   9            A.   We do the shows.
  10            Q.   Has it put on any shows?
  11            A.   No, sir.
  12            Q.   Has it opened a bank account?
  13            A.   No, sir.
  14            Q.   So, was this your idea to open this company or
  15    hers?
  16            A.   Mine.
  17            Q.   So, she would just be the front person for you?
  18            A.   Yes.
  19            Q.   Who is Bushra Sohail?      That's your sister?
  20            A.   Yes.
  21            Q.   She involved with the company, as well?
  22            A.   This company?
  23            Q.   Yes.
  24            A.   I don't remember.
  25            Q.   Okay.   Well, if she --


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                                                                      Page 125
   1                      (DEPOSITION EXHIBIT 16 MARKED.)
   2            Q.   (By Mr. Brouner)    I'll hand you what's been
   3    marked as Exhibit 16.
   4            A.   Yes, sir.
   5            Q.   So, you'll see that the -- is that your
   6    sister's signature at the bottom?
   7            A.   I don't know, sir.
   8            Q.   You don't know.    But in Section A there
   9    under -- in that box, that's her -- that's your sister's
  10    name?
  11            A.   Yes, sir.
  12            Q.   Okay.   Is there any reason why that the
  13    company's maintaining its status, if it's not having
  14    shows?       Does it intend -- I'm sorry.     Please answer.
  15            A.   I'm sorry.   Say it again.
  16            Q.   Okay.   What is the reason for the company to
  17    maintain its status, if it's not promoting any shows?
  18            A.   We open the company because when happened after
  19    the show, so my daughter decide let me handle it, I do
  20    all the paperwork and everything because I just
  21    believing everyone, and I'm going to be front of people
  22    all the documents because after we find out it's no
  23    documents at American Airlines, so they tried to step
  24    forward and say, let's do the shows for new company, but
  25    there's no shows.


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                                                                      Page 126
   1            Q.   Are you familiar with a company called DFW
   2    Investigation & Protection?
   3            A.   Yes, sir.
   4                     MR. LUSKY:     Before you go any further, what
   5    is Exhibit 16?
   6                     MR. BROUNER:     Exhibit 16 --
   7                     MR. LUSKY:     You were just asking him --
   8    apparently, there's only one copy of it.
   9                     MR. BROUNER:     I'll get one for you.        Uno
  10    momento.      You want more paper, Hal?
  11                     MR. LUSKY:     Huh?
  12                     MR. BROUNER:     You want more paper?
  13                     MR. LUSKY:     No, this is fine.
  14            Q.   (By Mr. Brouner)    Okay.   What is DFW
  15    Investigation & Protection?
  16            A.   Same thing, security guards.
  17            Q.   Is this your company?
  18            A.   Yes, sir.
  19            Q.   Okay.   And it formed in 2016?
  20            A.   I believe so, yes, sir.
  21            Q.   Okay.   Why did you need a company when you had
  22    worked for Eagle Protective Group?
  23            A.   Going to open an investigation company, so
  24    after that, we merge the license for Eagle Protective,
  25    so we don't run this company.


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                                                                      Page 135
   1                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
   2                            SHERMAN DIVISION
   3    IN RE:                               ) CASE NO. 19-42834
        MUHAMMAD NASIR SIDDIQI               ) Chapter 7
   4              Debtor                     )
        __________________________           )
   5    MARK A. WEISBART,                    )
        CHAPTER 7 TRUSTEE                    )
   6              Plaintiff                  )
                                             )
   7    v.                                   ) Case No. 20-04037
                                             )
   8    JAMELA SIDDIQI                       )
                  Defendant                  )
   9                                         )
  10
  11                   -----------------------------------
  12                          DEPOSITION CERTIFICATE
  13                          MUHAMMAD NASIR SIDDIQI
  14                               MARCH 24, 2021
  15                   -----------------------------------
  16
  17                      I, Nita G. Cullen, Certified Shorthand
  18    Reporter in and for the State of Texas, hereby certify
  19    to the following:
  20                             That the witness, MUHAMMAD NASIR
  21    SIDDIQI, was duly sworn by the officer and that the
  22    transcript of the oral deposition is a true record of
  23    the testimony given by the witness;
  24                      I further certify that pursuant to FRCP
  25    Rule 30(f)(1) that the signature of the deponent:


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